  Case 9:24-cv-00085-MJT                                                     Document 19-11                              Filed 07/24/24                       Page 1 of 2 PageID #:
                                                                                        269




 UCC FINANCING STATEMENT
 FOLLOW INSTRUCTIONS                                                                                                      :    15~0018871374
  A, NAME & PHONE OF CONTACT AT FILER (optional)
        Walter L. Borgich, Jr.                                                                                                 96/11/2015 05:00 PM
  8. E-MAI CONTACT ATr F ER                      one
                                                                                                                                                    FILED
                                                                                                                                                    TEXAS
  C, SEND ACKNOWEDGMENT TO:                       ¢Name and Addrass)                                                                                 SECRETARY OF STATE
                                                                                                                               SOs
           Borgfeld & White, P.C.
           Attm Walter L. Borgield, Jr.
           P.O. Box 151556
                                                                                    rte,
                                                                                       01185
           Lufkin, 'Texas 75915-1556                                                                                           611389 178Re2                                       1




                                                                                                                               THE ABOVE SPACE IS FOR FILING OFF CE USE ONLY
 1, DEBTOR'S NAME: Provide only nog Debtor name (19 OF 1b) (uso exact, fol neme: do nol om, modity, or abbroviate any part of the Debtors name); If any part of the Individual Debtor's
    name will pot 0117 line 1b, eve ell of tem 1 Bisnk, check bite and provide tne Individual Deter intonmation m item 1D of the Financing Stalement Addendum (Foem UCC1 Ad)

        ta, ORGANIZATION'S NAME
        Greenleaf Resources, Inc,
 OR
        1b.INDIVIDUALSSURNAME                                                                    FIRST PERSONAL NAME                               ADODITIONAL NAME(SMINIFIAL(S}           SUFFIX


 i¢. MAILING ADDRESS                                                                             cry                                               STATE     [POSTAL CODE                  'COUNTRY
  313 Telly Road                                                                                  Picayune                                         MS         39466                        USA
 2.DEBTOR'SNAME: Provide only one Oebtor mame (26 oF 2b) (use exact, Hl nae; do NOt omil, moutty, or abbreviate key part of the Debtor's name); H any part of the Individual Conters
      Ramo wilt not fil in [ine 20, 'leave. ail of lam 2 Bank, chack hare        8nd provide the Individual Debtor information     Hen $0 of the Financing Statement Addendum (Form UCCIAd)
       21, ORGANIZATIONS NAME


 GR
       2b.INDIVIDUAL'SSURNAME                                                                    FIRST PERSONAL NAME                              ADDITIONAL NAME{SVINITIAL{S)            SUFFIX


 2c, MAILING ADDRESS                                                                             ciTy                                              STATS     [POSTAL CODE                 COUNTRY


 3, SECURED PARTY'S NAME [or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provige only;gaa)                                                        aoe3b)
     4a. ORGANIZATIONS NAME

oR
       Gillespie Partners, Ltd
       Jb, INCIVIDUAL'S SURNAME                                                                  FIAST PERSONAL NAME                              ADDITIONAL NAME(SMINITIAL(S)            SUFFIX


3s. MAILING ADEDRESS                                                                             CTY                                              STATE      [POSTAL CODE                 COUNTRY
 P.O. Box 631107                                                                                 Nacogdoches                                       TX         75963                        USA
4. COLLATERAL: This Branding                        covers ihe    folowing



 Coltateral (Inctuding alt accessions): All Debtor's interest in the equipment (inclading the proceeds thereof in what ever
 form) located on that tract or parcels of land in Ward County, Texas, located at 4712 State Hwy 18 South, Monahans, Texas
 which is described in Exhibit A which Is attached hereto and incorporated herein by reference, as well as all after acquired
 collateral of the same classtfication.




5, Check         if applicable and check on y ono box: Collateral la          hole in a Trust ese UCC IAG    ile 17 acd Instructions             administered ty              Porsoaal Rep esantedve
Ge, Check         ? applicable and check only ons box:                                                                                     &b, Crack       U appecatie and             ane bor,
          Public-Finanes Trentaction                                         Transaction             A Dabter is a Trenemitiing Utilty              Agdouttural Len          Non-UGG Filing
7. ALTERNATIVE DESIGNATION t applicable):                                                  _   ConsignaesConsignor
&, OPTIONAL FILER REFERENCE DATA:


                                                                                                                              nternat ona Assoc at on of Commerc a Adm n strators (JACA)                         :

FILING OFFICE COPY                 UGC FINANCING STATEMENT (Form UGC1} (Rav, 04/20/11)




                                                                                                                                                                                       EXHIBIT 10
                                                                                                                                                                                                       WHITE 000071
                                                                                                                              WHITE 000072
                         GREENLEAF RESOURCES, INC.
                         OWNED EQUIPMENT
                         May 26, 2015




                                                                                                                 EXHIBIT 10
Page 2 of 2 PageID #:




                         GREENLEAF        ARRANGEMENT
                           UNIT       RENT,OWN,RPO,RET,SOLD   YEAR                               SERIAL NUMBER
                                                                                   DESCRIPTION
Filed 07/24/24
           270
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                                                                     EXHIBIT "A*
